ase 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 1 of




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   9    Attorneys for Plaintiff
   10
                               UNITED STATES DISTRICT COURT
   11                         NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
   12

   13

   14
        UNITED STATES OF AMERICA,                     )(,VV     10               4664
                  Plaintiff,                          )
   15                                                 )
                       v.                             )       Civil Action No.
   16
        PACIFIC MEZZANINE FUND, L.P.                  )
   17

   18
                       Defendant.
                                                      )
                                                      )                                 cw
                                              COMPLAINT
   19

   20                       COMPLAINT FOR RECEIVERSHIP AND INJUNCTION

   21           COMES NOW Plaintiff, the United States of America, on behalf of its agency,
   22
        the Small Business Administration, and for its cause of action states as follows:
   23
                                  PARTIES, JURISDICTION AND VENUE
   24
                1.      This is a civil action brought by the United States on behalf of its agency,
   25

   26   the Small Business Administration (hereinafter, "SBA," "Agency" or "Plaintiff'), whose

   27   central office is located at 409 Third Street, S.W., Washington, DC 20416.
   28
ase 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 2 of




               2.      Jurisdiction is conferred on this Court by virtue of the Small Business
   2
        Investment Act of 1958, as amended (hereinafter, the "Act"), Sections 308(d), 311, and
   3
        316; 15 U.S.C. §§687(d), 687c, 687h; the Small Business Act, 15 U.S.C. §634(b)(1); and
   4
        28 U.S.c. §1345.
   5

   6           3.      Defendant, Pacific Mezzanine Fund, L.P. (hereinafter "Pacific" or

   7    "Licensee"), is a California limited partnership that maintains its principal place of
   8
        business at 2 Theatre Square, Suite 210, Orinda, Contra Costa County, California 94563.
   9
        Venue is therefore proper under 15 U.S.c. §§ 687(d), 687h and 28 U.S.c. §1391(b).
   10

   11                               Statutory and Regulatory Framework

   12          4.      Pacific was licensed by SBA as a Small Business Investment Company
   13
        ("SBIC") pursuant to Section 301(c) of the Act, 15 U.S.C. §681(c), on or about March
   14
        24, 1994, SBA License No. 09/09-0397, solely to do business under the provisions of the
   15
        Act and the regulations promulgated thereunder.
   16

   17           5.     Pacific's general partner is Pacific Private Capital, LLC. Its managing

   18   members are Nathan Bell and Brad Winegar.
   19
                6.      Pacific's SBIC License Application contains an acknowledgement by
   20
        Pacific's principals that the SBIC would be operated in accordance with the Regulations
   21
        and the Act at all times.
   22

   23           7.      Section 308(c) of the Act, 15 U.S.C. §687(c), empowers SBA to prescribe
   24   regulations to carry out the provisions of the Act and to govern the operations of SBICs.
   25
         SBA has duly promulgated such regulations, which are codified at Title 13 of the Code of
   26
        Federal Regulations, Part 107 (the "Regulations").
   27

   28
ase 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 3 of




               8.      Section 303 of the Act, 15 U.S.c. §683, authorizes SBA to provide
   2
        leverage to licensed SBICs.
   3
               9.      Pursuant to Section 303 of the Act, 15 U.S.c. §683, SBA provided
   4
        Leverage to Pacific through the purchase and/or guaranty of Debentures, a form of
   5

   6    Leverage, as those terms are defined under the Regulations. As of July 19,2010, there

   7    remains $20,369,824.25 in outstanding Leverage, consisting of $19,339,924.33 principal
   8
        and $1,029,899.92 accrued interest with a per diem interest rate of $3,107.89.
   9
                10.    The Debentures described in paragraph 9, above, are subject to and
  10

  11
        incorporated by reference in the Regulations, including but not limited to the provisions

  12    of 13 C.F.R. §§107.181O, 1830 and 1850.
  13
                11.    Section 308(d) of the Act, 15 U.S.c. §687(d), provides that upon
  14
        determination and adjudication of noncompliance or violation of the Act or the
  15
        Regulations, all of the rights, privileges and franchises of a Licensee such as Pacific may
   16

   17   be forfeited and the company may be declared dissolved.

   18           12.    Section 311 of the Act, 15 U.S.c. §687c, provides that if a determination
   19
        is made by SBA that a Licensee such as Pacific has engaged in or is about to engage in
   20
        any acts or practices which constitute or will constitute a violation of the Act or of any
   21

        Rule or Regulation promulgated pursuant to the Act, or of any order issued under the Act,
   22

   23   then SBA may make application for an injunction, and such Court shall have jurisdiction

   24   of such action and grant a permanent or temporary injunction, or other relief without
   25
         bond, upon a showing that such Licensee has engaged in or is about to engage in any
   26
         such acts or practices. The Court is authorized to appoint SBA to act as receiver for such
   27

   28    Licensee.
ase 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 4 of




                                               COUNT ONE
   2
                                        CAPITAL IMPAIRMENT
   3
               13.       Paragraphs 1 through 12 are incorporated by reference herein.
   4
               14.       Section § 107 .1830(c) of the Regulations requires that Pacific not have a
   5

   6    condition of Capital Impainnent of greater than 55% (fifty five percent) as defined under
   7    the Regulations.
   8
               15.       Based on the SBA Fonn 468 submitted by Pacific for the period ending
   9
        December 31,2008, SBA detennined that Pacific had a condition of Capital Impainnent
  10

   11   as their capital impainnent percentage was over 77% (seventy seven percent).

   12           16.      By letter dated March 27, 2009, SBA notified Pacific that it would be in
   13
        default of Section 107. 181O(f)(5) of the Regulations fifteen (15) days from the date of the
   14
        letter if Pacific did not cure its condition of capital impainnent within that time. Pacific
   15
        has failed to cure its condition of capital impainnent.
   16

   17                                           COUNT TWO

   18                        DEFAULT IN REPAYMENT OF DEBENTURES
   19
                17.      Paragraphs 1 through 16 are incorporated herein by reference.
   20
                   18.     One of the Debentures issued by Pacific to SBA, described in paragraph
   21
        9, above, matured on March 1,2009.
   22

   23              19.   By letter dated March 10,2009, SBA infonned Pacific that it had failed to
   24   repay the Debenture in full on the due date of March 1, 2009, which was an event of
   25
        default under Section 107. 181O(f)(3) of the Regulations. As a consequence of the event
   26
        of default, Pacific was given fifteen (15) days from the date of the letter to cure the
   27

   28   default.
ase 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 5 of




               20.     Pacific has failed to cure the default and repay the Debenture in full.
   2
               21.     As a consequence of its failure to cure the default on the repayment of its
   3
        Debentures and its condition of Capital Irnpainnent, Pacific was transferred to liquidation
   4
        status by SBA. By letter dated April 23, 2009, Pacific was infonned that SBA had
   5

   6    accelerated payment of all outstanding Debentures in accordance with 13 C.F.R.

   7    §107.181O (g)(i).
   8
               22.     To date, Pacific has failed to cure its condition of Capital Irnpainnent and
   9
        has failed to remit payment on its accelerated Debentures.
  10

  11           23.     As a consequence of Pacific's violation of 13 C.ER. §§107.181O(f)(3),(5)

  12    of the Regulations, SBA is entitled to the injunctive relief provided under the Act, 15
   13
        U.S.C. §687(d) and 687c, including the appointment of SBA as Receiver of Pacific.
   14
                                          PRAYER FOR RELIEF
   15
                WHEREFORE, Plaintiff prays as follows:
   16

   17           A.     That injunctive relief, both preliminary and pennanent in nature" be

   18   granted restraining Pacific Mezzanine Fund, L.P., its managers, general partners,
   19
        directors, officers, agents, employees, and other persons acting in concert or participation
   20
        therewith from: (1) making any disbursements of any assets of Pacific; (2) using,
   21
        investing, conveying, disposing, executing or encumbering in any fashion any assets of
   22

   23   Pacific, wherever located; and (3) further violating the Act or the Regulations

   24   promulgated thereunder.
   25
                B.      That this Court detennine and adjudicate Pacific's noncompliance with
   26
         and violation of the Act and the Regulations promulgated thereunder.
   27

   28
Case 1:10-mc-24171-PAS Document 1-1 Entered on FLSD Docket 11/22/2010 Page 6 of




                C.      That this Court, pursuant to 15 U.S.C. §687c, enter the proposed Consent
     2
         Order and (1) take exclusive jurisdiction of Pacific and all of its assets, wherever located,
     3
         (2) appoint SBA as recei ver of Pacific for the purpose of marshaling and liquidating the
     4

     5   assets of Pacific, satisfying the claims of creditors as determined by the Court and (3)

     6   grant such other relief as contained in the Consent Order filed simultaneously herewith.
     7          D.      That this Court enter judgment in the amount of $20,369,824.25 in
     8
         outstanding Leverage, consisting of $19,339,924.33 principal and $1,029,899.92 accrued
     9
         interest with a per diem interest rate of $3,107.89 until the date of judgment and post
    lO

    11   judgment interest thereafter.

    12          E.      That this Court grant such other relief it deems just and proper.
    13
                                                Respectfully submitted,
    14
                                                MELINDA HAAG
    15                                          ~TEDSTATESATTORNEY

    16



                                                       ~~~
    17
         Dated: October 13,2010                 By:
    18                                                EDWINL. JOE
    19                                                Special Assistant United States Attorney

    20
         OF COUNSEL:
    21

    22
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